
659 F. Supp. 2d 1363 (2009)
In re: CHECKING ACCOUNT OVERDRAFT LITIGATION.
Jeffrey Buffington, et al.
v.
SunTrust Bank, Inc., N.D. Georgia, C.A. No. 1:09-1558.
MDL No. 2036.
United States Judicial Panel on Multidistrict Litigation.
December 1, 2009.
Before ROBERT L. MILLER, JR., Acting Chairman, JOHN G. HEYBURN II, Chairman[*], KATHRYN H. VRATIL, *1364 DAVID R. HANSEN, W. ROYAL FURGESON, JR., FRANK C. DAMRELL, JR. and DAVID G. TRAGER, Judges of the Panel.

TRANSFER ORDER
ROBERT L. MILLER, JR., Acting Chairman.
Before the entire Panel[*]: Defendant SunTrust Bank (SunTrust) moves pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), asking the Panel to vacate its order conditionally transferring this action (Buffington) to the Southern District of Florida for inclusion in MDL No. 2036. The Buffington plaintiffs oppose the motion.
After considering all argument of counsel, we find that Buffington involves common questions of fact with actions in this litigation previously transferred to the Southern District of Florida. Transfer of the action to the Southern District of Florida for inclusion in MDL No. 2036 will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. We further find that transfer of this action is appropriate for reasons that we set out in our original order directing centralization in this docket. In that order, we held that (1) the Southern District of Florida was a proper Section 1407 forum for actions involving claims relating to the alleged improper imposition of bank checking account overdraft fees; and (2) while there are some unique questions of fact from bank-to-bank, all actions share sufficient factual questions relating to industry-wide bank posting policies and procedures to warrant centralization of all actions in one MDL docket. See In re Checking Account Overdraft Litigation, 626 F. Supp. 2d 1333 (J.P.M.L.2009). Accordingly, Buffington clearly falls within the scope for this MDL docket established by the Panel.
SunTrust argues against inclusion of Buffington in MDL No. 2036 proceedings that, inter alia, plaintiffs' claims are subject to arbitration. Arbitration clauses are, however, often included in checking account customer agreements. The question of the arbitrability of overdraft claims is already before the MDL No. 2036 transferee court. Inclusion of Buffington will lead to the consistent and expeditious consideration of this threshold issue in Buffington and other MDL No. 2036 actions. In re Checking Account Overdraft Litigation, 2009 WL 3460951 (J.P.M.L. Oct. 7, 2009).
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, this action is transferred to the Southern District of Florida and, with the consent of that court, assigned to the Honorable James Lawrence King for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.
NOTES
[*]  Judge Heyburn took no part in the disposition of this matter.

